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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY



 ANTHONY PINSON,                                Docket No. 2:19-cv-17227-KM-ESK

                                   Plaintiff,                Civil Action

~~                                                   JOINT DISCOVERY PLAN


SHARMALIE PERERA, M.D., SANDRA
CONNOLLY, M.D., PATRICK NOGAN,
WILLIE BONDS, MARCUS O. HICKS,
ESQ., ACTING COMMISSIONER OF NEW
JERSEY DEPARTMENT OF
CORRECTIONS, NEW JERSEY
DEPARTMENT OF CORRECTIONS, JOHN
DOES 1-24, RUTGERS UNIVERSITY —
UNIVERSITY CORRECTIONAL HEALTH
CARE,

                             Defendants.
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      1.) Attorneys

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         Attorney fog Defendants Marcus O. Hicks, Willie Bonds, Patrick Nogan,
         and New Jersey Department of Coy°sections


      2.) Description of the Case

1.)      This case involves deliberate indifference to a prisoner's serious medical need. Plaintiff
         Anthony Pinson has sickle cell anemia. Periodic episodes of pain, called crises, are a
         major symptom of sickle cell anemia. Crises can. be dangerous. Many patients who die
         from sickle cell anemia die during crises. Sickle cell anemia can damage and destroy
         organ tissue. Plaintiff suffers from periodic crises lasting one to two weeks. During
         crises, Plaintiff is in severe pain. During a crisis, Plaintiff requires hospitalization, where
         he is treated with powerful opiods such as morphine, tramadol, and dilaudid, and receives
         blood transfusions. When Plaintiff was in South Woods, he suffered three crises without
         hospitalization and was only given water and Tylenol. Since Plaintiff has been at
         Northern State Prison, he has had four crises, during which he was not hospitalized and
         was given only water and Tylenol. He was told by Defendants that he was not allowed to
         have opiod pain killers.

        In April 2019, Plaintiff was taken to court in Middlesex County during a crisis. Due to
        his blatantly obvious condition, he was transported to Robert Wood Johnson Hospital
        where he was kept for a month and properly treated for a sickle cell crisis. The
        hospitalization resulted in medical bills of approximately $10,000, which were billed
        directly to Plaintiff.

         During the crisis, he was diagnosed with a bone infarction in his shin. An infarction is
         tissue death caused by inadequate blood supply to the affected area. It is a complication
         of untreated sickle cell anemia. The infarction causes Plaintiff extreme pain. The

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     infarction will cause Plaintiff extreme pain for the rest of his life. Plaintiff is not being
     treated for the infarction.

     The Complaint alleges liability under 42 U.S.C. § 1983, negligence, and intentional
     infliction of emotional distress.

     Defendants Hicks, Bonds, and Nogan have filed a motion to dismiss, alleging that the
     complaint should be dismissed as to these defendants for failure to state a plausible claim
     pursuant to Igbal v. Ashcroft, for failure to file a Notice of Tort Claim, and because of
     qualified immunity.


  3.) Settlement Discussions
      There have been no settlement discussions.

  4.) Meet and Confer (Rule 26(f~)
      The parties have not had a Rule 26(~ meeting

  5.) Initial Disclosures (Rule 26(a))
      The parties have not yet exchanged information because some of the Defendants has not
      yet made an appearance.

  6.) Problems with Initial Disclosures
     N/A

  7.) Discovery to date
      There has been no discovery to date.

  8.) Proposed Joint Discovery Plan

         a. Discovery is needed on the followin~jects
               • Plaintiff's medical records
               • Depositions of individually-named Defendants plus John Doe Defendants

         b. Discovery should not be conducted in phases or limited to particular issues

         c. Proposed Schedule

                i. Fed. R. Civ. P. 26 Disclosures shall be served by November 21, 2019.

                ii. Discovery conference pursuant to L. Civ. R. 26.1(d) by November 18,
                    2019.

               iii. Service of initial written discovery by December 10, 2019.

               iv. Maximum of 25 Interrogatories by each party to each other party.

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                 v. Maximum of 10 depositions to be taken by each party.

                vi. Responses to initial written discovery by February 10, 2020.

               vii. Depositions of fact witnesses to be completed by May 10, 2020.

               viii. Motions to amend or to add parties to be filed by the end of depositions of
                     the named Defendants.

                ix. Factual. Discovery to be completed by July 10, 2020.

                 x. Plaintiff's expert report due on August 10, 2020

                xi. Defendant's expert report due on October 10, 2020.

               xii. Expert depositions to be completed by November 10, 2020.

               xiii. Dispositive motions to be served within 30 days of completion of
                     discovery




                                              WRONKO LOEWEN BFNUCCI

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Date: November 7, 2019

                                                       MICHAEL POREDA
                                                       Attorney fog Plaintiff




                                               GUBBIR GREWAL
                                               ATTORNEY GENERAL OF NEW JERSEY
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Date:                                         By:
                                                   T     IS M. ANDERSON
                                                    Deputy Attorney General




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